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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                          Case No. 8:24-cv-317-WFJ-AAS

STATE OF FLORIDA; and FLORIDA
AGENCY FOR HEALTH CARE
ADMINISTRATION,

Plaintiffs,

v.

CENTERS FOR MEDICARE AND
MEDICAID SERVICES; CHIQUITA
BROOKS-LASURE, in her official capacity as
Administrator for the Centers for Medicare and
Medicaid Services; DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services,

Defendants.

          PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR
                       PRELIMINARY INJUNCTION




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                                 INTRODUCTION

      Plaintiffs are entitled to a preliminary injunction. PI.Mot.11–25. CMS does not

dispute that its October 27, 2023, Frequently Asked Questions (“FAQs”) about the

Children’s Health Insurance Program (“CHIP”) under Title XXI of the Social Security

Act are final agency action. Nor does CMS dispute that Florida has standing.

      Instead, CMS tries to persuade this Court that straightforward questions of law

under the Administrative Procedure Act (“APA”) about that admittedly-final agency

action are somehow unripe, Opp.8–13, and that this Court lacks jurisdiction because

CMS could potentially reach some of the same issues in future agency proceedings,

Opp.13–16. Neither argument is persuasive. The FAQs are clear that States cannot

“terminate CHIP coverage during a continuous eligibility ... period due to non-

payment of premiums,” and even purport to “end” an existing regulatory provision at

42 C.F.R. § 457.342(b) that provides otherwise. Ex.4, FAQs at 1. Future agency

proceedings are also not guaranteed, anyway.

      If CMS had taken the necessary steps to amend or rescind its regulations,

Florida would unquestionably be able to sue now under the APA. But instead, CMS

has tried to change its regulations by fiat and now cites that unlawful procedure to

justify circumventing judicial review. This Court should reject that charade.

      CMS also has no answer on the merits for why it abandoned the well-

established distinction between “eligibility” and “enrollment,” pervasive throughout

Title XXI and CHIP regulations, and instead implausibly suggests that Congress

subtly transformed CHIP into an entitlement program in an omnibus appropriations

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bill—without even amending the statutory provision that expressly states CHIP is not

an entitlement program. Opp.19–24. Nor can CMS negate Florida’s sovereign injury

and ongoing, unrecoverable costs to comply with the FAQs. See Opp.16–18.

       This Court should grant the preliminary injunction.

I.     This Case is Justiciable

       A.     Florida’s Claims Are Ripe

       “In cases involving pre-enforcement review, like this one, the standing and

ripeness analysis tend to converge.” Baughcum v. Jackson, 92 F.4th 1024, 1036 (11th

Cir. 2024). CMS has not challenged Florida’s standing, and, in any event, where “the

plaintiff is himself an object of the action (or forgone action) at issue … , there is

ordinarily little question that the action or inaction has caused him injury, and that a

judgment preventing or requiring the action will redress it.” Lujan v. Defs. of Wildlife,

504 U.S. 555, 561–62 (1992). That is the end of the matter here: the claims are ripe.

       A systematic march through the ripeness doctrine reinforces that conclusion.

The inquiry “protects federal courts from engaging in speculation or wasting their

resources through the review of potential or abstract disputes.” Digit. Props., Inc. v. City

of Plantation, 121 F.3d 586, 589 (11th Cir. 1997). Courts must “assess both the fitness

of the issues for judicial decision and the hardship to the parties of withholding judicial

review.” Harrell v. The Fla. Bar, 608 F.3d 1241, 1258 (11th Cir. 2010); see also Abbott

Lab’ys v. Gardner, 387 U.S. 136, 149 (1967). Every consideration weighs in favor of

adjudicating this case.

       First, Florida raises purely legal issues, making them quintessential questions

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“fit for judicial decision.” Club Madonna, Inc. v. City of Mia. Beach, 924 F.3d 1370, 1380

(11th Cir. 2019). “A facial challenge presenting a purely legal argument … ‘is

presumptively ripe for judicial review’ because that type of argument does not rely on

a developed factual record.” Id.; see Susan B. Anthony List v. Driehaus, 573 U.S. 149, 167

(2014). CMS defends the FAQs based “purely [on] congressional intent,” and has

“made no effort to justify the [FAQs] in factual terms” or identify any pertinent issue

that would benefit from factual development. Abbott Lab’ys, 387 U.S. at 149; see

Opp.19–28.1 Nor is factual development necessary to determine whether CMS

followed the procedures required by the APA. These claims are all within the core

competency of this Court, not future CMS proceedings. See infra Part I.B. In other

words, “[t]he lines are drawn, the positions taken, and the matter is ripe for judicial

review.” Florida v. Weinberger, 492 F.2d 488, 493 (5th Cir. 1974).

       Second, because the claims here are “fit for judicial decision,” “the absence of a

‘hardship’ cannot tip the balance against judicial review.” Club Madonna, 924 F.3d at

1380 (cleaned up). But to be clear, withholding review will cause Florida “substantial

hardship,” which also satisfies the ripeness inquiry. Cheffer v. Reno, 55 F.3d 1517, 1524

(11th Cir. 1995). The FAQs “set a collision course with Florida law,” Weinberger, 492

F.2d at 492, and Florida is “forced to choose between foregoing lawful activity and

risking substantial legal sanctions,” Cheffer, 55 F.3d at 1524. If Florida complies with



1
  CMS’s sole example—Florida’s estimate of compliance costs, Opp.12—is irrelevant to ripeness.
Those costs demonstrate Florida’s imminent injury to justify a preliminary injunction, see infra Part
III, but have no bearing on whether the FAQs are lawful or otherwise comply with the APA.
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the FAQs, it will incur approximately $1 million in unlawful CHIP expenditures each

month. Ex.1, Noll.Decl. ¶ 10. If Florida ignores the FAQs, it faces the loss of millions

of dollars in federal CHIP reimbursements. This case aligns perfectly with binding

precedent rejecting a ripeness challenge in Weinberger, 492 F.2d at 492:

      [The FAQs are] final and ... actually in effect.... [Florida] is presently
      faced with the dilemma whether to bow to [CMS’s] volte-face and
      amend its laws and procedures, with all the likely financial outlay and
      certain legislative and administrative effort which that process entails,
      or to risk the at least temporary loss of funding which [noncompliance]
      could well produce.... In the process of [issuing the FAQs], [CMS] has
      already necessarily determined that [they] compl[y] with the
      [Consolidated Appropriations Act, 2023 (“2023 CAA”)], and if [they]
      d[o], plainly Florida law does not.... The calamitous prospect of such a
      loss of funding, even for a short period, to the state ... is so grave as to
      suffice for such hardship as may be required. Faced with the serious risk
      of such sanctions, there is no need for Florida to stand by while [CMS]
      ticks, hoping that [it] will not go off.

      CMS is wrong to suggest the FAQs are not “self-executing.” Opp.12–13. They

purport to “end” 42 C.F.R. § 457.342(b) and prohibit States from “consider[ing] non-

payment of premiums” as grounds for CHIP disenrollment after December 31, 2023.

Ex.4, FAQs at 1. Like the regulations the Supreme Court found ripe for review in

Gardner v. Toilet Goods Ass’n, the FAQs “have an immediate and substantial impact”

by placing Florida “in a quandary.” 387 U.S. 167, 171–72 (1967). Florida is not

required to “refuse to comply ... and test the [FAQs] by defending against” civil suits

or CMS enforcement, or to “submit to the [FAQs]” and the financial and sovereign

injuries they impose, just to obtain judicial review. Id.

      CMS relies heavily on two unpublished, out-of-circuit district court opinions—

New Jersey v. HHS, 2008 WL 4936933 (D.N.J. Nov. 17, 2008), and New York v. HHS,

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2008 WL 5211000 (S.D.N.Y. Dec. 15, 2008)—which are foreclosed by the binding

precedent discussed above, and in any event are easily distinguishable. Opp.8, 11–13.

Both involved challenges to a State Health Official (“SHO”) Letter about procedures

to ensure state CHIPs did not “crowd out” private insurance. New Jersey, 2008 WL

4936933, at *5; New York, 2008 WL 5211000, at *5. Both held that this SHO Letter

was not “final agency action,” and that CMS had already shown “flexibility” in

considering and approving state CHIPs with “alternative approaches.” New Jersey,

2008 WL 4936933, at *6, 12–13; New York, 2008 WL 5211000, at *11–13. And both

concluded that factual development was needed to see how the SHO Letter would

apply and whether its provisions were “impossible or unduly burdensome.” New Jersey,

2008 WL 4936933, at *11; New York, 2008 WL 5211000, at *12–13.

      None of those characteristics are present here. CMS does not dispute that the

FAQs are final agency action, nor would the claims here benefit from factual

development. The FAQs are clear that States cannot “terminate CHIP coverage during

a continuous eligibility ... period due to non-payment of premiums,” and purport to

“end”—with no further action needed—an existing regulatory provision that provides

otherwise. Ex.4, FAQs at 1. CMS has not disclaimed this position or its intent to

enforce the FAQs, but now implausibly feigns ignorance about how they will apply.

      CMS also ignores cases that challenge agency statements unequivocally

articulating positions and that raise purely legal claims that would not benefit from

factual development. Courts have had no trouble concluding those claims are ripe,

including challenges to CMS “guidance.” See Texas v. Brooks-LaSure, 2023 WL
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4304749, at *7 (E.D. Tex. June 30, 2023) (“purely legal” substantive and procedural

APA challenges to CMS “informational bulletin” are ripe).2

       For all these reasons, the claims here are undoubtedly ripe.

       B.      This Court Has Jurisdiction Under the APA

       Judicial review of agency action is presumptively available under the APA.

DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1905 (2020). CMS responds that this

Court’s jurisdiction is impliedly precluded because the Social Security Act provides for

CMS review of a “determination” related to a particular state plan or plan amendment,

followed by review in the U.S. Courts of Appeals. Opp.13–16 (citing 42 U.S.C.

§§ 1316, 1397gg(e)(2)(B)). Implied preemption by a “special statutory review scheme,”

however, “does not necessarily extend to every claim concerning agency action,” but

only to those “‘of the type Congress intended to be reviewed within [the] statutory

structure.’” Axon Enter., Inc. v. FTC, 598 U.S. 175, 185–86 (2023). Florida is not

challenging any plan-related “determination.” There’s zero indication Congress

intended administrative review under the Social Security Act to foreclose purely legal

APA claims in district court.

       Courts considering implied preclusion have also looked to three factors

articulated in Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994), all of which favor



2
 See also, e.g., Ciox Health, LLC v. Azar, 435 F. Supp. 3d 30, 52–53 (D.D.C. 2020) (HHS guidance);
Texas v. HHS, 2023 WL 4629168, at *11 (W.D. Tex. July 12, 2023) (HHS guidance); Gen. Elec. Co. v.
EPA, 290 F.3d 377, 380–81 (D.C. Cir. 2002) (EPA guidance); Scholl v. Mnuchin, 489 F. Supp. 3d 1008,
1026–30 (N.D. Cal. 2020) (IRS FAQs); Alabama v. CMS, 2010 WL 1268090, at *4–5 (M.D. Ala. Mar.
30, 2010) (procedural APA challenges to CMS SHO letter); Seafood Exps. Ass’n of India v. United States,
479 F. Supp. 2d 1367, 1376–81 (Ct. Int’l Trade 2007) (customs directive).
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jurisdiction here.3 First, “preclusion could foreclose all meaningful judicial review.” Id.

at 212–13. Even the mere possibility that judicial review would be unavailable is

enough to rule out implied preclusion. Cochran v. SEC, 20 F.4th 194, 209–10 (5th Cir.

2021), aff’d sub nom. Axon, 598 U.S. 175. If Florida complies with the FAQs, it won’t

receive a CMS “determination” reviewable under the Social Security Act, leaving

Florida “‘unable to seek redress.’” Brooks-Lasure, 2023 WL 4304749, at *9. Florida’s

only option would be to “bet the farm” and ignore the FAQs “before testing [their]

validity,” which is not “a ‘meaningful’ avenue of relief.” Free Enter. Fund v. PCAOB,

561 U.S. 477, 490–91 (2010) (cleaned up); see Weinberger, 492 F.2d at 492.

       Second, Florida’s claims are “wholly collateral” to the Social Security Act review

scheme. Thunder Basin, 510 U.S. at 212 (cleaned up). Again, Florida is not challenging

a “determination” about its CHIP plan, contra Opp.15–16, but instead whether the

FAQs are lawful. That is standard fare for APA review.

       Third, Florida’s claims are “outside [CMS’s] expertise.” Thunder Basin, 510 U.S.

at 212. CMS has no advantage in applying general rules of statutory interpretation or

adjudicating the requirements of the APA. Those “are instead standard questions of

administrative law, which the courts are at no disadvantage in answering.” Free Enter.

Fund, 561 U.S. at 491.

       Finally, this Court should consider the remarkable reach of CMS’s argument



3
 All factors need not favor Florida to conclude the district court has jurisdiction. Axon, 598 U.S. at
186. Even if a party can “(eventually) obtain review of ... claims through an appeal from an adverse
agency action to a court of appeals,” id. at 190–91, district court jurisdiction may still be warranted.

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that the existence of any administrative review scheme effectively “divests district

courts of their ordinary jurisdiction over” all APA claims. Axon, 598 U.S. at 185–86.

That was not Congress’s intent. Id. at 186.

      If CMS had taken any steps to properly amend its regulations, i.e., by

publication in the Federal Register, 5 U.S.C. § 552(a)(1), Florida undoubtedly could

challenge that agency action in district court. CMS instead violated the APA to “end”

a regulation by fiat and now cites that unlawful procedure to justify circumventing the

judicial review that would otherwise be available. The D.C. Circuit anticipated this

very maneuver when it held that notice and comment is required, and judicial review

is available, whenever an agency even “effectively amends a prior legislative rule.” Am.

Mining Cong. v. MSHA, 995 F.2d 1106, 1112 (D.C. Cir. 1993); see Shalala v. Guernsey

Mem’l Hosp., 514 U.S. 87, 100 (1995). This Court should do the same.

II.   Florida Is Likely to Prevail on the Merits

      A.     The FAQs Are Contrary to Law and Exceed CMS’s Authority

      The FAQs violate Title XXI’s express provision for the disenrollment of CHIP

participants for nonpayment of premiums, 42 U.S.C. § 1397cc(e)(3)(C), Title XXI’s

grandfathering provisions, id. § 1397cc(a)(3), (d), and CHIP regulations, 42 C.F.R.

§ 457.342(b). They also exceed the plain language of the 2023 CAA. PI.Mot.12–17.

      CMS has no persuasive response. It ignores that Title XXI and CHIP

regulations have for decades carefully distinguished between “eligibility” for CHIP




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 benefits and “enrollment” in a CHIP plan. PI.Mot.14–15 & nn.8–9.4 Instead, CMS

 myopically focuses on its own Medicaid regulations that require States to “[c]ontinue

 to furnish Medicaid regularly to all eligible individuals until they are found to be

 ineligible.” 42 C.F.R. § 435.930(b). No such requirement exists for CHIP, and for good

 reason. Congress expressly provided that CHIP, unlike Medicaid, is not an entitlement

 program. 42 U.S.C. § 1397bb(b)(5) (“Nothing in [Title XXI] shall be construed as

 providing an individual with an entitlement to child health assistance under a State

 child health plan.”). “Eligibility” thus has different consequences for the two

 programs: individuals eligible for Medicaid are entitled to state-provided health

 insurance coverage, 42 C.F.R. § 435.930(b), while individuals eligible for CHIP have

 the opportunity to enroll in a state-subsidized health plan, see, e.g., id. § 457.340(d)(3).

        Section 5112(a) of the 2023 CAA didn’t change that difference. It requires only

 that States refrain from redetermining a child’s eligibility for Medicaid—for example,

 based on a change in family income—for an entire year. 42 U.S.C. § 1396a(e)(12).

 Applying that provision to CHIP “in the same manner” means only that States cannot

 redetermine a child’s eligibility for CHIP for an entire year, either. Id. § 1397gg(e)(1).

        CMS would instead “fundamentally alte[r]” CHIP, transforming it into an

 entitlement program. Opp.20. Not only does that violate the clear statement in 42

 U.S.C. § 1397bb(b)(5) that CHIP is not an entitlement program, it contravenes the

 familiar canon that Congress doesn’t “hide elephants in mouseholes,” Whitman v. Am.


 4
   The difference is not a foreign concept or unique to CHIP. For example, every attorney knows that
 eligibility for fee shifting does not necessarily mean entitlement or receipt.
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 Trucking Ass’ns, 531 U.S. 457, 468 (2001), or, in this case, a passing revision buried in

 a 1,653-page omnibus appropriations bill, see 2023 CAA § 5112, 136 Stat. at 5940.

        CMS continues that surely Congress was aware of CMS regulations

 guaranteeing Medicaid benefits during periods of continuous eligibility, and thus

 intended to extend that to CHIP. Opp.22. That is precisely the wrong inference.

 Congress was surely aware of the longstanding distinction between “eligibility” and

 “enrollment,” see PI.Mot.14–15 & nn.8–9, and that Title XXI and CMS regulations

 allow CHIP participants to be disenrolled for nonpayment of premiums, PI.Mot.13.

 Congress nonetheless chose to legislate continuous eligibility, not continuous

 enrollment, coverage, or benefits. In fact, different bills would have legislated continuous

 enrollment, which never became law. PI.Mot.15. This proves Congress was not only

 aware of the distinction but also rejected the plan that CMS now tries to accomplish.

        CMS is also wrong that a straightforward reading of the 2023 CAA would

 render it “superfluous” because a Medicaid regulation already “prohibit[s] states from

 requiring a renewal of eligibility more frequently than every 12 months.” Opp.23

 (citing 42 C.F.R. § 435.916(a)). Replacing a regulatory Medicaid requirement with a

 statutory one is not a superfluous endeavor, especially when simultaneously enacting

 new statutory requirements for CHIP. United States v. Miles, 75 F.4th 1213, 1223 (11th

 Cir. 2023). CMS has a habit of conflating its own regulations with actual statutes.

        In any event, the 2023 CAA doesn’t restate 42 C.F.R. § 435.916, which actually

 requires States to “promptly redetermine eligibility between regular renewals of

 eligibility ... whenever it receives information about a change in a [participant’s]
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 circumstances that may affect eligibility.” Id. § 435.916(a)(1), (d)(1). Medicaid

 continuous eligibility was previously optional. See 42 U.S.C. § 1396a(e)(12) (2022); 42

 C.F.R. § 435.926; Opp.4. The 2023 CAA now generally prohibits States from

 redetermining eligibility during a mandatory continuous eligibility period.

        CMS’s attempt to “harmonize” the FAQs with 42 U.S.C. § 1397cc(e)(3) also

 falls flat. Opp.24. CMS reasons that States must still notify CHIP participants that

 failure to pay premiums “will result in termination of coverage,” and that the “grace

 period” is whatever remains of the continuous eligibility period. Id. But CMS abruptly

 stops its analysis there and never explains when a State actually can terminate coverage

 (i.e., disenroll) or lock out participants for nonpayment of premiums. Nor does CMS

 even attempt to reconcile this argument with its simultaneous assertions that

 continuous eligibility in CHIP must have the same effect as in Medicaid, which allows

 for no such notices, disenrollment, or lock-out periods. See 42 C.F.R. § 435.930(b).

        That isn’t the only place where CMS’s argument collapses under its own weight.

 If applying continuous eligibility “in the same manner” has the same effect on

 receiving benefits, then CHIP benefits could not be conditioned on paying enrollment

 fees or the first month’s premium, which the FAQs allow. Ex.4, FAQs at 1. Nor could

 CHIP require copayments, 42 U.S.C. § 1397cc(e)(1), which CMS leaves untouched.

        Finally, CMS is wrong that the Title XXI grandfathering provisions apply only

 to “the package of benefits” a plan offers, and so are irrelevant to “eligibility issues” in

 the FAQs. Opp.25. Those statutory provisions give broad authority to qualifying

 States like Florida to retain and modify grandfathered plans that maintain minimum
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 coverage requirements. 42 U.S.C. § 1397cc(a)(3), (d). The statutory text doesn’t limit

 that authority to “benefits.” Nor are the FAQs concerned only with “eligibility issues,”

 as they require States to extend benefits to non-paying participants. CMS also ignores

 that Florida has been providing continuous eligibility, contingent on payment of

 premiums, since long before Congress enacted CHIP, and continued to do so as a

 grandfathered plan before CMS allowed for that possibility by regulation in 2016.

 PI.Mot.6. The 2023 CAA did nothing to change 42 U.S.C. § 1397cc(a)(3), (d).

       B.     The FAQs are Arbitrary and Capricious

       The FAQs are not “the product of reasoned decisionmaking.” Motor Vehicle

 Mfrs. Ass’n v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 52 (1983). They are illogical,

 reverse the well-established distinction between CHIP eligibility and enrollment, and

 fail to consider reliance interests or grandfathering provisions. PI.Mot.17–19; see

 Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221–22 (2016).

       CMS’s response only further reveals the inconsistency of its position. CMS

 maintains that “nothing in the CAA casts doubt on the regulatory exceptions” to

 continuous eligibility that it chose to retain, Opp.25–26, but nothing in the 2023 CAA

 authorizes those exceptions, either. By using the term “eligibility” rather than

 “enrollment” and leaving untouched 42 U.S.C. § 1397bb(b)(5)—which provides that

 CHIP is not an entitlement program—the 2023 CAA actually provides more support

 for allowing disenrollment for premium nonpayment than for keeping CMS’s

 preferred exceptions. Despite CMS’s claims otherwise, Opp.26, the FAQs abandon

 CMS’s longstanding recognition of that distinction, PI.Mot.15 & n.9.

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        CMS also acted arbitrarily by ignoring grandfathering provisions and the

 reliance interests of States. PI.Mot.19. CMS claims those considerations were

 unnecessary because Congress imposed the ongoing provision of benefits, Opp.26–27,

 but Congress didn’t do that, see supra Part II.A, and CMS cannot assert flexibility to

 retain its preferred regulatory exceptions while inconsistently claiming to be

 handcuffed when it comes to other considerations or exceptions.

        C.    The FAQs Violate the APA’s Procedural Requirements

        The FAQs are a legislative rule subject to the APA’s notice-and-comment

 requirements. See PI.Mot.20–21. CMS mischaracterizes the FAQs by claiming they

 “merely set out CMS’s understanding of the CAA’s effect on … Medicaid and CHIP.”

 Opp.27–28. That is wrong. They expressly purport to “end” 42 C.F.R. § 457.342(b).

 Ex.4, at 1. CMS is bound by that regulation until amended or repealed, United States

 v. Nixon, 418 U.S. 683, 695–96 (1974), and such change must be through notice-and-

 comment rulemaking, as is required whenever an agency “adopt[s] a new position

 inconsistent with ... existing regulations,” Shalala, 514 U.S. at 100.

        Even if the FAQs were exempt from notice and comment, CMS was still

 required to amend 42 C.F.R. § 457.342(b) through publication in the Federal Register,

 5 U.S.C. § 552(a)(1), which would be final agency action subject to judicial review.

 CMS cannot avoid this Court by violating the very procedures that would indisputably

 lead to its review. This failure is alone enough to require the FAQs be set aside.

 III.   Florida Will Suffer Irreparable Injury

        Florida will suffer ongoing, irreparable injury absent injunctive relief.

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 PI.Mot.21–25. First, Florida faces recurring harm each month when it is forced to

 choose between following its own laws or CMS’s unlawful FAQs. Although no

 irreparable harm results from the valid federal preemption of a state law, Opp.18–19,

 a state’s “inability to enforce its duly enacted plans clearly inflicts irreparable harm on

 the State,” Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018); see Florida v. Nelson, 576

 F. Supp. 3d 1017, 1039–40 (M.D. Fla. 2021). Florida’s sovereign injury is thus

 intertwined with the merits of its claim that the FAQs are unlawful.5

        Second, Florida independently faces irreparable harm through unrecoverable

 costs. Florida officials estimate that complying with the FAQs will cost the State

 approximately $1 million per month. Ex.1, Noll.Decl. ¶ 10. Even if that precise amount

 were “speculative,” Opp.12—and it is not—CMS never disputes that Florida faces

 impending financial costs that are unrecoverable and thus constitute irreparable harm.

 Georgia v. President of the U.S., 46 F.4th 1283, 1302 (11th Cir. 2022).

        Nor does the timing of this case indicate a lack of imminence. See Opp.17–18.

 The FAQs were issued on October 27, 2023, and purported to “end” an existing

 regulation on December 31, 2023. Ex.4, FAQs at 1. Even though CMS unexpectedly

 subverted CHIP premium requirements, Florida filed suit only a month later on

 February 1, 2024, and simultaneously requested emergency relief because the

 irreparable injury is ongoing and will repeat each month.


 5
    CMS questions whether Florida law requires disenrollment. Opp.18. Florida Statute
 § 624.91(5)(b)(9) provides that “nonpayment of family premiums” is “voluntary cancellation” as a
 matter of law, which necessarily results in disenrollment. PI.Mot.22. CHIP cost-sharing is also crucial
 to ensuring Florida meets its constitution’s balanced-budget requirement. PI.Mot.7.
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         Florida did not lightly make the decision to sue, and it used those few weeks to

 assess the legality of the FAQs, the consequences of compliance, and the necessity of

 legal action. There’s not even a plausible assertion of inexplicable delay. CMS invokes

 a case about a delay of “a few months,” Opp.17, but the plaintiff there waited months

 after filing suit before seeking preliminary relief. 6 That’s certainly not true here.

 IV.     The Balance of Harms and Public Interest Favor Florida

         The balance of harms and public interest weigh in favor of a preliminary

 injunction. PI.Mot.25. CMS has no legitimate interest in unlawful agency action, and

 that is the end of the matter. Ala. Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2490 (2021).

         Further, Florida isn’t asking this Court to “‘ignore the judgment of Congress,

 deliberately expressed in legislation,’” Opp.28–29, but to enjoin a rogue agency action

 that, itself, brazenly ignores the plain meaning of statutory terms and infringes on

 Florida’s sovereignty. Florida and its residents are best served by preserving the

 integrity and long-term sustainability of a program that serves some of the most

 vulnerable members of the community.

                                            CONCLUSION

         The Court should preliminarily enjoin CMS from enforcing the FAQs.
 6
   See Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1247–49 (11th Cir. 2016) (“unexplained five-
 month delay” in moving for preliminary relief after filing complaint). The significant delay other
 courts have deemed material confirms that Florida’s actions here were not dilatory. Bethune-Cookman,
 Univ., Inc. v. Dr. Mary McLeod Bethune Nat’l Alumni Ass’n, Inc., 2023 WL 3704912, at *1 (11th Cir. May
 30, 2023) (six-month delay in moving for preliminary relief after filing complaint); Powers v. Nielsen,
 806 F. App’x 958, 959–60 (11th Cir. 2020) (four-year delay in filing suit and one-year delay in moving
 for preliminary relief after filing complaint); Berber v. Wells Fargo Bank, N.A., 760 F. App’x 684, 687
 (11th Cir. 2019) (three-year delay in filing suit); Powers v. Sec’y, Fla. Dep’t. of Corr., 691 F. App’x 581,
 583–84 (11th Cir. 2017) (“unexplained” three-year delay in filing suit); see also Larweth v. Magellan
 Health, Inc., 841 F. App’x 146, 151, 158–59 (11th Cir. 2021) (four-to-five-month delay in filing
 counterclaims and moving for preliminary relief after being sued did not undermine irreparable harm).

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 Dated: March 5, 2024


 Respectfully submitted,

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                            CERTIFICATE OF SERVICE
        I hereby certify that on March 5, 2024, a true and correct copy of the foregoing
 was filed with the Court’s CM/ECF system, which will provide service to all parties
 who have registered with CM/ECF and filed an appearance in this action.


 Dated: March 5, 2024                       /s/ R. Trent McCotter
                                            R. Trent McCotter




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